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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

HEALTH REPUBLIC INSURANCE
COMPANY,
                                                         Case No. 16-259C
               Plaintiff,
               on behalf of itself and all others        Judge Davis
               similarly situated,

       vs.

THE UNITED STATES OF AMERICA,

               Defendant.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s April 7, 2022 order (Dkt. 152), Plaintiff Health Republic Insurance

Company and the United States submit this joint status report. The Parties have agreed to file,

concurrently with this joint status report, a joint motion to divide the Dispute Subclass into a

separate subclass before the Court enters the requested partial final judgment as to the claims

between the Meritus entities and the United States.      This request will follow the approach

previously taken in this case.
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DATED: April 14, 2022                         Respectfully submitted,

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